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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                           §
                                                   § NO. 2:20-CR-
v.                                                 § Judges JRG/RSP
                                                   §
TONY GOSS                                          §
                                        FACTUAL BASIS

        Investigation by Drag Enforcement Agency and the United States Postal Inspector

disclosed the following facts that establish that I, the Defendant, Tony Goss, committed the

conduct described in Count 1 of the information, which charges a violation of 21 U.S.C. § 841

(Possession with intent to Distribute Anabolic Steroids). I agree that the following factual basis

is true and correct:

        1. On August 22,2019, state and federal law enforcement agents executed a lawfully

obtained search warrant at 107 Community Blvd, Suite #5, Longview, Harrison County, Texas,

in the Eastern District of Texas, which was a commercial premises under my care, custody and

control. I knowingly and intentionally possessed all of the following items located on the

premises: approximately 5,493 pills or tablets containing anabolic steroids, approximately 4,192

grams of anabolic steroid powder and, approximately 2,960 milliliters of liquid anabolic steroids.

Anabolic Steroids are a schedule III controlled substance. I knowingly possessed all of the

herein described Anabolic Steroids with the intent to distribute them for commercial profit. I

stipulate that I am personally responsible for the distribution of, and/or possession with intent to

distribute, at least 176,585 dosage units of anabolic steroids and that I distributed anabolic

steroids through mass-marketing by means of an interactive computer service.

        2. I acknowledge that such acts constitute a violation of 21 U.S.C. § 841, Possession


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with Intent to Distribute Anabolic Steroids.

         3. I hereby stipulate that the facts described above are hue and correct and I accept

them as the uncontroverted facts of this case.




Dated:




                        Defendant's counsel s signature and acknowledgment:

                    I have read this Factual Basis and the Plea Agreement in this matter and have

reviewed them with my client, Tony Goss. Based upon my discussions with my client, I am

satisfied that he understands the terms and effects of the Factual Basis and the Plea Agreement

and that he is signing this Factual Basis voluntarily.




Dated:
                                                            fcW G SSET
                                                         Attorney for Defendant




Factual Basis - 2
